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                         IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG DIVISION
      In re:
      EDWARD C. WALLMAN
                                                             CHAPTER 7
      TINA J. WALLMAN,
                     DEBTORS.                                CASE NO. 19-00957
      SPECIALIZED LOAN SERVICING LLC,
                     MOVANT,
      vs.
      EDWARD C. WALLMAN
      TINA J. WALLMAN,
                     RESPONDENTS.

                    ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

               Upon consideration of the Motion for Relief from Automatic Stay filed by
      Specialized Loan Servicing LLC (“Movant”), no response having been filed with the
      Court by the Debtors, or Counsel for debtors; it is found by default as follows:
               That this Court has jurisdiction pursuant to 28 U.S.C. §1334 and §157 and 11
      U.S.C. §362 and this is a core matter. Further, the Secured Creditor is the current
      payee of a promissory note dated the March 31, 2008, in the principal amount of
      $220,186.00, secured by a Deed of Trust of the same date upon property generally
      described in the Security Agreement as being situate in the County of Washington,
      Maryland, and having a mailing address of 14080 Hollow Road, Hancock, MD 21750,
      (“Secured Property”). It is therefore:
               ORDERED that the automatic stay of 11 U.S.C. §362(a) is hereby terminated
      as to the Debtors to permit the Movant and its successors and assigns to pursue its
      remedies as they exist at state law, as it pertains to and as to any purchaser at a
      foreclosure sale conducted at the direction of the Movant under the provisions of
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      the Deed of Trust dated March 31, 2008, including but not limited to pursuing loan
      modification or loss mitigation, regarding the real property located at 14080 Hollow
      Road, Hancock, MD 21750 and to pursue such remedies as it may have in its Deed of
      Trust whereby it obtained such lien.
             ORDERED, that the automatic stay of 11 U.S.C. §362(a) is hereby terminated
      as to all parties to permit the Movant and its successors and assigns to enforce the
      lien of its Deed of Trust as it pertains to the real property located at 14080 Hollow
      Road, Hancock, MD 21750 and more particularly described as follows:
             The land referred to in this policy is situated in the State of MD, County of
             WASHINGTON, City of HANCOCK and described as follows;

             Parcel No. 1: All the following described real estate beginning in the center of
             Hollow Road (formerly known as Sylvan Road) at the end of the seventh line
             in the conveyance from Nettie L. Myers to Beatrice Georgia Spade by deed
             dated August 19, 1959, and recorded in Liber 350, folio 242, among the land
             records of Washington County, Maryland, and reversing the direction of said
             seventh line north 49 degrees east 208.00 feet to the end of the sixth line of
             said deed, thence with said sixth line reversed north 12 degrees west 326.0
             feet to a post at the end of the fifth line of said deed, thence with a portion of
             the fifth line north 64 degrees 30 minutes west 89.0 feet, thence south 78
             degrees west 154.0 feet to a point on the eastern marginal line of a ten-foot
             easement conveyed to Mickey R. Thompson and wife by deed dated August
             6, 1966, and recorded in liber 444, folio 507 among the land records of
             Washington County, and with the eastern marginal line of said easement
             south 12 degrees east 478.0 feet to the center line of Hollow Road, and to a
             point in the eighth line of the aforesaid deed from Nettie L. Myers to Beatrice
             Spade, and reversing part of said eighth line north 61 degrees 45 minutes
             east approximately 4.0 feet to the place of beginning; containing 2.0 acres,
             more or less.

             Parcel No. 2: All the following described parcel of land being conveyed for
             the purposes of enlargement of an existing lot and situate in election district
             15, along the north side of Hollow Road, approximately 1.3 miles north of the
             intersection of Hollow Road with State of Route 615, in Washington County,
             Maryland, and being more particularly described as follows: Beginning at a
             concrete monument found, being a common corner with lands of Arlie G.
             Spade (to with this tract or parcel is being added, L. 492, F. 437) and with
             lands of J. Austin Mckee (L. 318, F. 582); thence with Spade’s original lot or
             parcel south 76 degrees 17 minutes 02 seconds west 152.17 feet to a metal
             post, found, said post being at the northeast corner of a recorded right-of-
             way (L. 444, F. 507) and being a common corner with Beatrice G. Spade (L.
             551, F. 730, the property from with this tract or parcel is being conveyed;
             thence with new division lines through the lands of Beatrice Spade the
             following two courses and distances north 69 degrees 18 minutes 10
             seconds west 168.05 feet to an iron pin with a yellow cap, set, said iron pin
             intended to be on the line of J. Austin Mckee (L. 318, F. 582); thence with
             Mckee South 62 degrees 12 minutes 26 seconds east 502.99 feet to point of
             the beginning; containing a net area of 1.08 acres, more or less, as surveyed
             by Dennis K. Golden, P.L.S. of Warfordsburg, Pennsylvania (Maryland
             Surveyor number 529) and as shown on a plat of that survey entitled
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             Simplified Plat of “Parcel A” to be conveyed to Arline G. Spade and June 27,
             1995 and being recorded as Washington County Plat No. 4698.

             <redacted>
             WITH THE APPURTENANCES THERETO.
             <redacted>


             ORDERED that relief is granted to allow Movant to proceed to hold a
      foreclosure sale on the subject property.
             ORDERED that the Secured Property be abandoned as an asset of the estate,
      but if proceeds are derived from the repossession and foreclosure of the Secured
      Property in excess of the amount of the liens against the Secured Property and
      reasonable costs of the foreclosure, said excess shall be paid over to the Trustee.
             It is further ORDERED that the fourteen (14) day stay is hereby waived and
      the terms of this Order are immediately enforceable.
             It is further ORDERED that the abandonment of any and all interest in the
      subject real property pursuant to Rule 6007(b) of the Federal Rules of Bankruptcy
      Procedure is hereby confirmed so as to allow Specialized Loan Servicing LLC, its
      successors and/or assigns, to take any such lawful action as may be necessary to
      obtain possession of said premises identified as 14080 Hollow Road, Hancock, MD
      21750 and more particularly described in the Deed of Trust dated March 31, 2008
      and recorded among the land records of the County of Washington, Maryland.


      I ask for this:
      By: /s/ D. Carol Sasser
      W. Scott Campbell, Esquire, Bar No. 4232
      Fabio Crichigno, Esquire, Bar No. 10074
      Robert Kelly, Esquire, Bar No. 12917
      601 Morris Street, Suite 400
      Charleston, WV 25301
      Johnie R. Muncy, Esquire, Bar No. 12790
      1804 Staples Mill Road, Suite 200
      Richmond, VA 23230
      D. Carol Sasser, Esquire, Bar No. 12709
      596 Lynnhaven Parkway, Suite 200
      Virginia Beach, VA 23452

      Samuel I. White, P.C.
      Tel: (757) 490-9284
      Fax: (757) 497-2802(757) 490-8143
      dsasser@siwpc.com
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      Counsel for Specialized Loan Servicing LLC

      The Clerk shall mail a copy of the entered Order to the following:

      Aaron C. Amore
      Chapter 7 Trustee
      206 West Liberty Street
      Post Office Box 386
      Charles Town, WV 25414

      Michael J. Novotny
      Counsel for Debtors
      36 Bakerton Road Suite 205
      Harpers Ferry, WV 25425

      Edward C. Wallman and Tina J. Wallman
      Debtors
      128 Shepherds Rest Lane
      Harpers Ferry, WV 25425
